         Case 1:21-cr-00028-APM Document 588 Filed 01/21/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          *
                                                  *
                   vs.                            *        Case No. 1:21-cr-00028-APM-2
                                                  *
DONOVAN CROWL                                     *
         Defendant                                *
                                                  *

                                               ooOoo

                   CONSENT MOTION TO MODIFY CONDITIONS OF
                             PRETRIAL RELEASE

       Donovan Crowl, by his undersigned counsel, respectfully requests that this Honorable Court

modify its Order to authorize Mr. Crowl to remain at his sister’s home through February 28, 2022

AUSA Kathryn Rakoczy consents to this request. Pretrial Services Officers Masharia Holman (DC)

and Frank Cardy (SD OH) consent to this request.

       1.      Mr. Crowl has been staying with his sister through the Christmas and New Year’s

holidays and wishes to remain there through February 28, 2022.

       2.        While residing with his sister, Mr. Crowl is better able to maintain contact with

counsel and review electronic discovery as there is better internet access at that location. It is also

more convenient for him to travel to VA appointments from his sister’s residence.

       3.      While at his sister’s residence, Mr. Crowl has continued to be monitored by the radio

frequency location monitoring, previously ordered by the Court and has remained in compliance with

the conditions of release.

       4.      All other conditions shall remain the same.
         Case 1:21-cr-00028-APM Document 588 Filed 01/21/22 Page 2 of 2




        WHEREFORE, Mr. Crowl respectfully moves that this Honorable Court modify its Order

Setting Conditions of Release (1) to authorize Mr. Crowl to continue to reside at his sister’s home

through February 28, 2022.

                                                        Respectfully submitted,

                                                        /s/ Carmen D. Hernandez
                                                        Carmen D. Hernandez
                                                        Bar No. MD 03366
                                                        7166 Mink Hollow Rd
                                                        Highland, MD 20777
                                                        240-472-3391
                                                        chernan7@aol.com

                                  CERTIFICATE OF SERVICE

       I hereby certify that the instant notice was served on all counsel of record 21st day of January,
2022 on all counsel of record via ECF.



                                                        /s/ Carmen D. Hernandez
                                                        Carmen D. Hernandez




                                                   2
